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                                                                  u.s.oisrkcTcquRi
                                                                    SAVANHAH DIV.
                 IN THE UNITED STATES DISTRICT COURT

                                                                  2li8wnV29 AH 9-31
                 FOR THE SOUTHERN DISTRICT OF GEORGIA


                            STATESBORO DIVISION
                                                                    sOMiF SA.

THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                             6:18CR14


JONATHON EVAN OGLESBY,

                Defendant.




                                 ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by-

agreement.     Therefore,    a   hearing   in    this      case    is   deemed

unnecessary.    All motions are dismissed.



     SO ORDERED, this            day^f November, 2018.



                                   ITED STATES MAGISTRATE JUDGE
                                    UTHERN DISTRICT OF GEORGIA
